"Case 2:04-cv-02057-BBD-dkv Document 30 Filed 07/01/05 Page 1 of 3 Page|D 42

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ELMETRA BROWNLEE, . . §iSTHI_CT
W Ol~` griggs
P|aintiff,
vs. No: 04-2057-".0\/

MEMPHIS CITY GOVERNMENT,
MEMPHIS HOUSING AUTHORIT\',
ROBERT LIPSCOMB, in his official
position as executive director,
CHARLES NELMS, in his official and
personal capacity and

CLARENCE HOWARD, in his official
and personal capacity,

Defendant.

 

CONSENT ORDER DISMISSING DEFENDANT, CLARENCE HOWARD,
IN HIS PERSONAL CAPACITY

 

COMES NOW the parties, Defendant Clarence Howard, by and through
counse|, Shei|a L. Robinson-Beas|ey, P|aintiff, Eimetra Brown|ee, by and
through counse|, Wanda Abioto, and Defendants, Memphis City Government,
Memphis Housing Authority, Robert Lipscomb, and Char|es Ne|ms, by and
through counsel, Robert Cox, and submits this Consent Order agreeing to
dismiss the Defendant, C|arence Howard from the instant lawsuit in his
“persona| capacity”

IT IS THEREFORE, ORDERED ADJUDGED AND DECREED, by COi'iSerlt,r that
the Defendant, C|arence Howard, is hereby dismissed from this lawsuit in his

“persona| capacity”.

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base 2:04-cv-02057-BBD-dkv Document 30 Filed 07/01/05 Page 2 of 3 Page|D 43

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DATE. 36&

APPROVED:

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Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 2:04-CV-02057 Was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

